
599 So.2d 231 (1992)
G.H., a juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 91-1923.
District Court of Appeal of Florida, Third District.
May 19, 1992.
Bennett H. Brummer, Public Defender, and N. Joseph Durant, Jr., Asst. Public Defender, for appellant.
Robert A. Butterworth, Atty. Gen., and Barbara Arlene Fink, Asst. Atty. Gen., for appellee.
Before NESBITT, JORGENSON and LEVY, JJ.
PER CURIAM.
G.H. appeals from an adjudication of delinquency for criminal mischief. For the following reasons, we reverse.
Witnesses observed G.H. running around a parked van and then running from the parking lot. The van had been deeply scratched; no witness had seen G.H. inflict the damage. There was testimony that G.H. and the family who owned the van had "bad blood" between them.
"Where the only proof of guilt is circumstantial, no matter how strongly the evidence may suggest guilt a conviction may not be sustained unless the evidence is inconsistent with any hypothesis of innocence." McArthur v. State, 351 So.2d 972, 977 n. 12 (Fla. 1977) (citations omitted). G.H.'s mere presence at, and flight from, the scene of the alleged crime are insufficient to support the adjudication of delinquency. E.M. v. State, 441 So.2d 1155 (Fla. 3d DCA 1983); D.M. v. State, 394 So.2d 520 (Fla. 3d DCA 1981); J.O. v. State, 384 So.2d 966 (Fla. 3d DCA 1980).
Reversed and remanded with directions to discharge respondent with regard to this proceeding only.
